Case 2:21-cr-00140-JNP-JCB Document 52 Filed 05/09/23 PageID.188 Page 1 of 2




TRINA A. HIGGINS, United States Attorney (7349)
RICHARD M. ROLWING, Special Assistant United States Attorney (OH 0062368)
JOHN E. SULLIVAN, Senior Litigation Counsel, Tax Division (WI 1018849)
ERIKA V. SUHR, Trial Attorney, Tax Division (FL 1020532)
DARRIN L. McCULLOUGH, Senior Policy Advisor, MLARS (GA 487011)
CY H. CASTLE, Assistant United States Attorney (4808)
TRAVIS K. ELDER, Assistant United States Attorney (11987)
Attorneys for the United States of America
111 South Main Street, Suite 1800, Salt Lake City, Utah 84111
Tel: (801) 524-5682  Fax (801) 325-3310  travis.elder@usdoj.gov

                         IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

UNITED STATES OF AMERICA,                            Case No. 2:21-cr-00140 – JNP

                        Plaintiff,                   NOTICE OF APPEARANCE
                                                     OF COUNSEL
        vs.
                                                     Judge Jill N. Parrish
SEZGIN BARAN KORKMAZ,

                        Defendant.


       Notice is hereby given of the entry of appearance of Travis K. Elder, Assistant United

States Attorney, as co-counsel for the United States of America in the above-entitled action for

the purposes of all forfeiture related matters. Please serve all further notices and copies of

pleadings, papers and other materials relevant to this action upon:

               Richard M. Rolwing (Lead Counsel)
               Special Assistant United States Attorney
               Tax Division
               303 Marconi Blvd, Ste 200
               Columbus, OH 43215




                                             Page 1 of 2
Case 2:21-cr-00140-JNP-JCB Document 52 Filed 05/09/23 PageID.189 Page 2 of 2




             John E. Sullivan (Lead Counsel)
             Senior Litigation Counsel
             Tax Division
             601 D St. NW
             Washington, DC 20004

             Erick V. Suhr (Lead Counsel)
             Trial Attorney
             USDOJ – Tax
             150 M St. NE, Ste 2.603
             Washington, DC 20002

             Darrin McCullough (Lead Counsel)
             Senior Policy Advisor, Money Laundering and Asset Recovery Section
             USDOJ – Criminal Division Fraud Section
             1400 New York Ave NW
             Washington, DC 20530

             Cy H. Castle (Co-Counsel)
             Assistant United States Attorney
             111 South Main Street, Suite 1800
             Salt Lake City, Utah 84111

             Travis K. Elder (Co-Counsel)
             Assistant United States Attorney
             111 South Main Street, Suite 1800
             Salt Lake City, Utah 84111

      Respectfully submitted.

                                            TRINA A. HIGGINS
                                            United States Attorney


                                            /s/ Travis K. Elder
                                            TRAVIS K. ELDER
                                            Assistant U.S. Attorney




                                        Page 2 of 2
